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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        )
                                                )
               v.                               )   No.     1:21-cr-28-6 (APM)
                                                )
GRAYDON YOUNG,                                  )
                                                )
                        Defendant.              )

       JOINT STATUS REPORT AND DEFENDANT’S UNOPPOSED REQUEST
               FOR MODIFICATION OF RELEASE CONDITIONS

       The parties report that Defendant Graydon Young continues to cooperate with the

government. We request the opportunity to file a further status report by December 17, 2021.

       Defendant Young requests that the Court modify his release conditions, stepping him down

from home incarceration to an appearance bond on personal recognizance, with the following

conditions: not obtain a passport, surrender any passport, not possess any firearms or destructive

weapons, not have any contact with co-defendants or associates or affiliates of the Oath Keepers,

stay out of Washington, D.C., and notify Pretrial of any travel outside the Middle District of

Florida. The government does not oppose this request.

                                     Respectfully submitted,

                                     CHANNING D. PHILLIPS
                                     ACTING UNITED STATES ATTORNEY


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